     Case 4:21-cv-05066-SAB      ECF No. 36   filed 05/31/22     PageID.322 Page 1 of 2

                                                              FILED IN THE
                                                          U.S. DISTRICT COURT
                                                    EASTERN DISTRICT OF WASHINGTON
 1
 2                                                  May 31, 2022
                                                         SEAN F. MCAVOY, CLERK

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 5
 6                           UNITED STATES DISTRICT COURT
 7                      EASTERN DISTRICT OF WASHINGTON
 8
 9 RABO AGRIFINANCE LLC, a Delaware               NO. 4:21-CV-05066-SAB
10 limited liability company, fka Rabo
11 Agrifinance, Inc.,
12              Plaintiff,
13              v.
14 KAREN EASTERDAY, both individually             ORDER LIFTING STAY
15 and as personal representative of the Estate
16 of Gale Easterday, deceased; CODY
17 EASTERDAY, an individual and the
18 spouse of Debby Easterday; DEBBY
19 EASTERDAY, an individual and the
20 spouse of Codey Easterday; and JODY
21 EASTERDAY, individual,
22              Defendants.
23
24        On September 15, 2021, pursuant to the parties’ request, the Court stayed
25 the above-captioned proceeding until December 31, 2021. ECF No. 34. The parties
26 were directed to alert the Court upon termination of the Stay so this case could be
27 placed back on the Court’s active calendar.
28        On May 25, 2022, Plaintiff filed such a Notice and now asks that the case be

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     Case 4:21-cv-05066-SAB      ECF No. 36    filed 05/31/22   PageID.323 Page 2 of 2



 1 placed back on the active calendar of the Court.
 2        Accordingly, IT IS HEREBY ORDERED:
 3        1. The Stay imposed in the above-captioned case is hereby lifted.
 4        2. Pursuant to the Court’s Order, ECF No. 34, Defendant shall have 10 (ten)
 5 days from the date of this Order to file a responsive pleading to Plaintiff’s
 6 Complaint.
 7        IT IS SO ORDERED. The District Court Clerk is hereby directed to enter
 8 this Order and to provide copies to counsel.
 9        DATED this 31st day of May 2022.
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                                   Stanley A. Bastian
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                            Chief United States District Judge
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      ORDER LIFTING STAY ~ 2
